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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:22 -mj-3273-DAMIAN


 UNITED STATES OF AMERICA,

 vs.

 AARON THOMAS MITCHELL,


                         Defendant.

                                               /



           BRIEF IN SUPPORT OF GOVERNMENT’S MOTION FOR DETENTION

                                            Introduction

       The United States of America hereby moves for the Court to order the pretrial detention of

 defendant Aaron Mitchell. As set forth below, the defendant is charged with kidnapping a minor

 in violation of Title 18, United States Code, Section 1201(a) & (g)(1), for events which took place

 in Sierra Vista and Douglas, in the District of Arizona. On the morning of April 25, 2022, a 15-

 year-old female Minor Victim (M.V.) was waiting by her middle school when the defendant, then-

 employed as a Customs and Border Patrol Officer (CBPO), asked to see her documents, and then

 ordered her to get into his car, telling her he was going to take her to a police station. Instead, he

 handcuffed M.V. and drove her an hour away to his apartment where he repeatedly sexually

 assaulted her before driving her back to school several hours later.

       There is no combination of conditions that can reasonably assure the safety of the community

 or the defendant’s appearance in this case.       Under § 3142(e)(3)(E), because he was charged with

 kidnapping a minor, it must be presumed that no condition or combination of conditions will
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 reasonably assure the safety of the community and the appearance of the defendant. Moreover,

 the defendant cannot overcome this presumption because all of the applicable 18 U.S.C. § 3142(g)

 factors weigh in favor of his detention. As set forth below, there is overwhelming evidence the

 defendant committed the brazen offense charged in the indictment, and if convicted, he faces a

 minimum of 20 years and up to lifetime imprisonment, which gives the defendant an incentive to

 flee.    Moreover, the nature and circumstances of his offense demonstrate a danger to the

 community. He should be detained pending trial.

     I.      Factual Background

             A.   M.V.’s Account

     M.V., 5’3” and 94 pounds, lives in Mexico with her family. She was born in the United States

 and crosses the border by foot to attend school in Douglas, Arizona. According to M.V., on April

 25, 2022, she was waiting for school to start when the defendant, garbed in a vest emblazoned with

 “police,” drove up to her and rolled down his window. He told her he was a police officer and

 asked to see her documents. After she showed him her birth certificate, he asked for her backpack,

 which he looked through and placed on the seat. He then ordered her to get into his car so he

 could transport her to a police station.

     When they were almost out of Douglas, he pulled over and handcuffed her and restrained her

 legs. He then drove her over an hour away to Sierra Vista, where he lives. During the drive, he

 asked her age, in response to which she told him she was 15 years old. He also asked about her

 family, including their names. When they got to his apartment, he told her not to make any noise

 and made her stay in the car. He went into his apartment to get a jacket. He removed the

 handcuffs from her legs so that she could walk, and draped the jacket over her shoulders, covering

 her handcuffs.
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    When they got inside, he took M.V. into his bedroom and turned on the television. He showed

 her his badge and told her not to be afraid because he was a police officer. He put a mask over

 her mouth and a t-shirt over the mask. He told her to “do everything” he said if she did not want

 to get hurt. Over the next several hours, Mitchell repeatedly and forcibly penetrated M.V. and

 had her masturbate him. At various times she was handcuffed, gagged and blindfolded. At one

 point, Mitchell had the victim on her knees with a cover over her face and he placed his hands

 around her neck and began squeezing “hard.” She started crying and thought she “wasn’t going

 to make it home.”

        After telling the victim he was not going to return her backpack because it had his

 fingerprints on it, the defendant drove M.V. back to Douglas and dropped her off near her school.

 During the drive, he told her he was a police officer in Sierra Vista. When he dropped her off by

 her school, she immediately outcried to her friends and family, and reported the events to police

 the same day.

        B. Corroborating Evidence

        There is overwhelming evidence corroborating M.V.’s account, the most salient of which

 are: (1) medical examinations; (2) video evidence supporting M.V.’s account (and contradicting

 the defendant’s account); and (3) a screenshot of the defendant’s phone search.

        1. Medical evidence

        A SANE exam was started just after midnight, the day after the assault. The medical

 examiner found possible blood in M.V.’s underwear and signs of vaginal trauma. M.V. had a

 follow-up visit on May 10, 2022, and a medical examiner found evidence of anal trauma. DNA

 results are pending.

        2. Defendant’s statement and Video evidence
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        The defendant was taken into police custody the day after the incident, and he gave a

 voluntary statement. According to the defendant, on the day of the incident, while in Douglas to

 look at real estate, he saw M.V. whom he recalled from border crossing and claimed he knew,

 although he was not certain of her name. He claimed he asked her if she wanted to skip school

 and hang out, and she said yes. He admitted that he took her to his apartment, but claimed they

 only watched television. He denied handcuffing her or having any sexual relations with her.

        Video evidence, however, directly contradicts his account and corroborates M.V.’s

 account. For example, the defendant was specifically asked whether, when they got to his

 apartment, they got out together or whether she stayed in the car for “a little while.” (According

 to M.V., he made her wait in the car while he got a jacket to cover her handcuffs.). The defendant

 claimed they got out together. Video from his apartment complex, however, shows that after he

 parked, the defendant went into his apartment alone and returned to his car, carrying what appears

 to be a jacket. After opening various car doors, he made a second trip to his apartment, before

 returning to the car and opening the front passenger car door. When M.V. finally gets out of his

 car, she appears to have a jacket slung over her shoulders.

        The defendant was also asked about M.V.’s backpack. (M.V. said he told her he would

 not return it because it had her fingerprints.) The defendant claimed he did not know where her

 backpack was and denied getting rid of it. However, video evidence shows the defendant walk

 towards a dumpster with a backpack across his shoulder, throw something in the dumpster, and

 then walk back towards his apartment with no backpack. See Figs. 1 and 2.
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 Fig. 1 and 2: The left screenshot captures the defendant with a backpack on his way to the
 dumpster, while the right screenshot captures him without a backpack, on the way back from the
 dumpster.

        3. Arrest and Phone Search

        On the night he was arrested, officers were at the defendant’s apartment complex preparing

 to execute a search warrant. Seeing police vehicles in the parking lot of his complex as he

 returned home at approximately 10:30 p.m., the defendant accelerated and drove past his

 apartment. After being stopped by police and detained, officers seized his phone. Analysis of

 the phone revealed the following search on his phone internet browser in “private” mode: “girl

 kidnapped rape doug.” See. Fig.3. At the time, there had been no news media regarding this

 incident, and officers had not yet interviewed him about his interaction with M.V.

        When asked why he had chosen to pass his apartment complex after seeing the police

 vehicles that night, the defendant had no answer.
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 Fig. 3: Screenshot of the defendant’s phone browser as it existed when he was taken into
 custody, prior to being interviewed.

    II.     Legal Standard

    The Bail Reform Act empowers federal courts to order a defendant’s detention pending trial

 where the government establishes by clear and convincing evidence that the defendant is a

 danger to the community or, by a preponderance of the evidence, that he represents a risk of

 flight. 18 U.S.C. § 3142(e). Where, as here, there is probable cause to believe that an

 individual kidnapped a minor in violation of 18 U.S.C. 1201(a) & (g)(1), it must be presumed

 that no condition or combination of conditions will reasonably assure the appearance of the

 person as required and the safety of the community. 18 U.S.C. § 3142(e)(3)(A). See also

 United States v. Hurtado, 779 F.2d 1467, 1479 (11th Cir.1985) (noting that a grand jury

 indictment provides the probable cause required by the statute to trigger the presumption.).

 Where a presumption of detention is applicable, the defendant bears the burden of production to

 rebut that presumption by coming forward with evidence to rebut the presumption. The

 defendant’s “obligation to come forward with evidence does not shift to the defendant the

 government’s burden of persuasion.” United v. Quartermaine, 913 F.3d 910, 916 (11th Cir.

 1990).
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     Even if a defendant can meet his burden to rebut this presumption by coming forward with

 evidence that he does not pose a danger to the community or a risk of flight, “the rebutted

 presumption is not erased. Instead, it remains in the case as an evidentiary finding militating

 against release, to be weigh[ed] along with other evidence relevant to factors listed in section

 3142(g)” United States v. King, 849 F.2d 485, 488 (11th Cir. 1988) (internal citations and

 quotations omitted).

     The government’s burden of proof on dangerousness is clear and convincing evidence.

 Quartermaine, 913 F.3d at 917. The concept of “dangerousness” encompasses not only the effect

 of a defendant’s release on the safety of identifiable individuals, such as victims and witnesses,

 but also “the danger that the defendant might engage in criminal activity to the detriment of the

 community.” United States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative

 history).

     The government’s burden of proof on flight risk is preponderance of the evidence. King, 849

 F.2d at 489 (citing United States v. Medina, 775 F.2d 1398, 1402 (11th Cir. 1985). Where the

 evidence of guilt is strong, it provides “a considerable incentive to flee.” Millan, 4 F.3d at 1046;

 see also United States v. Palmer-Contreras, 835 F.2d 15, 18 (1st Cir. 1987) (per curiam) (where

 “the evidence against defendants is strong, the incentive for relocation is increased”).

 Additionally, the possibility of a severe sentence is an important factor in assessing a defendant’s

 likelihood of flight. See United States v. Martir, 782 F.2d 1141, 1147 (2d Cir. 1986) (defendants

 charged with serious offenses whose maximum combined terms created potent incentives to flee).

     The Bail Reform Act lists four factors to be considered in the detention analysis, whether for

 risk of flight or dangerousness: (1) the nature and circumstances of the crimes charged; (2) the

 history and characteristics of the defendant; (3) the seriousness of the danger posed by the
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 defendant’s release; and (4) the evidence of the defendant’s guilt. 18 U.S.C. § 3142(g); see also

 Quartermaine, 913 F.2d at 916.

    III.      Argument

    This defendant poses a significant danger to the community and is a flight risk if released

 pending trial, such that no condition or combination of bail conditions will reasonably ensure the

 safety of the community and the defendant’s appearance before the court. Because each of the

 § 3142(g) factors weigh in favor of the defendant’s detention pending trial, the defendant cannot

 overcome the presumption that he be detained.

                  A. Nature and Circumstances of the Offense

           The nature and circumstances of the offense militate towards detaining the defendant. The

 defendant is charged with a brazen and serious crime: he abused his authority as a law enforcement

 officer, kidnapped a child who was waiting for school, drove her over an hour away to his

 apartment, and sexually assaulted her over the course of several hours. During the sexual assault,

 the defendant, at various times, gagged, blindfolded, and choked M.V. The defendant destroyed

 evidence (her backpack) and then cavalierly dropped her off at school after asking about her family

 members and warning her several times that he was a law enforcement officer. The seriousness

 of his offense is reflected in the penalties he faces – a mandatory minimum of 20 years and a

 statutory maximum of life imprisonment.

                  B. Strength of the Evidence and Risk of Flight

           The overwhelming evidence that the defendant committed the charged offense and the

 associated likelihood of a lengthy sentence also weigh in favor of pre-trial detention. The

 defendant has a powerful incentive to flee. “When faced with the possibility of a significant

 prison term, defendants have a strong incentive to flee.” United States v. Edwards, 2021 WL
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 796089, at *2 (E.D.N.Y. Mar. 2, 2021). See also United States v. King, 849 F.2d 485, 488 (11th

 Cir. 1988) (defendant was a flight risk where she faced numerous mandatory minimum 10-year

 sentences); United States v. Cisneros, 328 F.3d 610, 618 (10th Cir. 2003) (the defendant was a

 flight risk because her knowledge of the seriousness of the charges against her gave her a strong

 incentive to abscond); and United States v. Khusanov, 731 F. App’x 19, 21 (2d Cir. 2018) (“[A]

 district court does not clearly err in concluding that a defendant facing a potentially lengthy prison

 sentence possesses a strong motive to flee.”).

         Here, if convicted, the defendant faces a mandatory minimum of 20 years and a statutory

 maximum of life imprisonment. The government preliminarily estimates the defendant’s

 guidelines range at life imprisonment. The possibility of a severe sentence—including a sentence

 lower than the one the defendant faces—can establish risk of flight. See United States v. Scali,

 738 F. App’x 32, 33 (2d Cir. 2018) (“The court reasonably determined that [the defendant]’s

 Guidelines range of 87-108 months’ imprisonment was significant enough to provide an incentive

 to flee.”).

         The defendant is also a flight risk because as a former CBP officer, the defendant received

 specialized training on how the United States maintains its border, and therefore is able to more

 easily flee to another country. He is not married and has no children.

         Although the defendant has been on bond since May on the state charges, “as numerous

 courts have held, such initial cooperation by a defendant is by no means conclusive evidence of

 his future appearance.” United States v. Martin, 2017 WL 4080689, *3 (S.D. Ga, September 14,

 2017). In Martin, the court found the defendant was a flight risk despite the following: he had

 been released on state charges; he knew that federal charges were likely; he voluntarily appeared

 twice in state court; and he self-surrendered on federal charges. Id. at *1. The court found him
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  to be a flight risk because the defendant faced a minimum 10-year federal sentence, the possibility

  of mandatory life sentence, and after being federally charged, he knew the strength of the

  government’s case. Id. at *3. See also United States v. King, 849 F.2d 485, 488 (11th Cir. 1988)

  (the fact that defendant knew for six months that the grand jury indictment was imminent and

  chose to retain counsel and contest the charges rather than flee was not sufficient to overcome the

  statutory presumption of flight, as defendant faced minimum mandatory sentence and was aware

  of the government's damaging evidence against her, including a taped conversation.); and United

  States v. Oliver, 2016 WL 1746853 at * 9 (W.D. Pa. May 3, 2016) (finding that the defendant

  presented too great a risk of flight - and too great a danger - for pretrial release despite the fact that

  defendant was on bond for six weeks in state system and voluntarily surrendered to federal

  authorities, given that defendant faced a 10 year to life sentence,).

            Similarly, here, although the defendant has not fled the past three months, this initial

  cooperation does not overcome the presumption that he is a flight risk. Like the defendants in

  Martin, King, and Oliver, the defendant has powerful incentive to flee given the fact that he newly

  faces a federal charge that carries 20 years to life sentence, and now knows the strength of the

  government’s evidence.

                  C. History and Characteristics of the Defendant

          The defendant does not have any criminal history, but his brazen conduct supports his

  detention. The defendant had been a CBP officer for less than a year when he kidnapped M.V.

  He abused his knowledge and training as a federal law enforcement officer when he targeted a

  vulnerable child who was waiting for school to start. He likely chose her because he knew she

  lived in Mexico and may be less likely to report him. He subtly threatened her by asking about

  her family members, and repeatedly told her he was an officer. He also directly threatened her by
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  telling her she had to do everything he said so he didn’t have to hurt her. His blatant and gross

  abuse of his authority as a federal law enforcement officer militates in favor of his detention.

                 D. Danger Posed by the Defendant’s Release

     Lastly, the defendant is a clear danger to the community. Because he faces a guidelines

  sentence of life and the evidence is strong, the defendant may decide he has nothing to lose by

  committing other crimes if he is released.       And as the charged conduct demonstrates, the

  defendant, a trained federal law enforcement officer, is capable of tricking children into believing

  that they must accompany him as a police officer and abusing them once they are in his custody.

     Moreover, the defendant has threatened to harm M.V. because of her report to the police.

  Officers left the defendant in the interview room after he gave a video-taped statement. While

  alone, the defendant muttered to himself: “I cannot believe this shit. Fucking little bitch. Bitch

  is claiming rape. That’s so fucking crazy. That’s crazy, man. She better hope I don’t get out

  of here.”

      If the defendant is bold enough to kidnap and sexually assault a child who is waiting for

  school, cunning enough to dispose of evidence that would inculpate him, and careless enough to

  threaten to harm her when he knows he is being videotaped in a police station, there are no limits

  to what dangers he may pose to the community or to M.V. if he is released pending trial.

  Understandably, the victim and her family very much want the defendant to be detained.

     Although the defendant has been released on bond on state charges since May, it does not

  overcome the presumption that the defendant be detained. Notably, the state court did not find

  that the defendant did not pose a danger to the community or posed no flight risk; rather, the

  defendant was released because the state stipulated to his release under conditions proposed by his

  attorney. Further, at the time of that hearing, neither the parties nor the court had all of the
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  evidence summarized above.       More importantly, as mentioned above, federal courts have

  detained defendants even when they cooperated or had been on bond from state charges, finding

  that federal charges changed the calculus. And the calculus indeed has changed for the defendant

  here. He newly faces a 20-year mandatory minimum, while the state charges do not carry any

  statutory minimums. In addition, the defendant did not have discovery when he was released on

  bond on state charges and likely did not know the strength of the evidence against him.

     IV.     Conclusion

     For the reasons set forth above, the government respectfully requests that the defendant be held

  without bail pending trial.

     This brief for the United States is filed by the undersigned on behalf of Department of Justice

  Trial Attorney AeJean Cha, of the Civil Rights Division.

                                                      Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 29, 2022, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                                              Frank H. Tamen

                                                              Asst. U.S. Attorney
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                                           Assistant U.S. Attorney
